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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                     NO.     4:99CR00207-002 SWW

FRENANDO SAMPSON, JR.


                                        ORDER

      The above entitled cause came on for a hearing on petition to revoke the

supervised released granted this defendant in the United States District Court

for the Eastern District of Arkansas.       Upon the basis of defendant’s admissions,

the Court found that defendant has violated the conditions of his supervised

release without just cause.

      IT IS THEREFORE ORDERED      that the government’s motion is granted, and the

supervised release previously granted this defendant, be, and it hereby is,

revoked.

      IT IS FURTHER ORDERED that defendant is committed to the custody of the

Bureau of Prisons to serve a term of imprisonment of SIX (6) MONTHS.            The Court

recommends that defendant be incarcerated in the facility located in Forrest

City, Arkansas.

      There   will   be   no   supervised   release   following   defendant’s    term   of

imprisonment.

      The defendant is remanded to the custody of the United States Marshal to

immediately begin service of the sentence imposed.

      IT IS SO ORDERED this 12th day of December, 2006.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
